      Case 6:22-cv-00684-MTK              Document 170          Filed 01/24/25        Page 1 of 4




                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON


 MISTY L. CASTILLO, as Personal                                        Case No. 6:22-cv-00684-MTK
 Representative of the ESTATE OF ARCADIO
 CASTILLO, III,                                                             OPINION AND ORDER

           Plaintiff,

    v.

 NATHAN BUSH and CITY OF SALEM, a
 municipal corporation,

           Defendants.



KASUBHAI, United States District Judge:

         Following the July 9, 2021 police shooting and killing of Arcadio Castillo III (“Castillo

III”), Plaintiff Misty Castillo (the personal representative of Castillo III’s estate), filed this civil

rights lawsuit under 42 U.S.C. § 1983 and Oregon state law. Compl., ECF No. 1. Plaintiff alleges

claims against the officer involved in the shooting—Nathan Bush—and the City of Salem.

Before the Court is Defendants’ Motion to Bifurcate Individual and Monell Claims for Trial.

ECF No. 128. For the following reasons, the motion is denied.

         “Rule 42(b) of the Federal Rules of Civil Procedure confers broad discretion upon the

district court to bifurcate a trial, thereby deferring costly and possibly unnecessary

proceedings....” Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1088 (9th Cir.2002). In particular,

the Court may bifurcate a trial “[f]or convenience, to avoid prejudice, or to expedite and



Page 1 — OPINION AND ORDER
     Case 6:22-cv-00684-MTK            Document 170         Filed 01/24/25      Page 2 of 4




economize, the court may order a separate trial of one or more separate issues....” Fed. R. Civ. P.

42(b). Bifurcation is “not to be routinely ordered.” Fed. R. Civ. P. 42 advisory committee’s note

(1966 Amendment).

       On August 15, 2024, the Court entered an Opinion and Order denying Plaintiff’s Motion

for Partial Summary Judgment and granting in part Defendants’ Motion for Summary Judgment.

Following entry of that order, the remaining claims in the case are:

       (1) Plaintiff’s Claim that Defendant Bush violated Castillo III’s Fourth
           Amendment rights by “intentionally shooting [Castillo III] without an
           objectively reasonable belief that [he] presented an immediate threat of serious
           bodily harm to defendant Bush or any other person and without providing [him]
           reasonable time to comply with his commands nor fair warning of his intention
           to use deadly force.” Sec. Am. Compl. ¶ 28, ECF No. 47; and

       (2) Plaintiff’s Section 1983 Municipal Liability (“Monell”) claim that Defendant
           City of Salem had a policy and practice of inadequate investigation that
           amounted to deliberate indifference to the risk of excessive use of force which
           caused Castillo III’s shooting.

See ECF No. 117. Defendants move to bifurcate the two claims into different stages of trial,

arguing that bifurcation is necessary to promote judicial economy and convenience to the parties,

prevent prejudice to Defendants, and simplify the case for the jury. In particular, because the

excessive force claim against Defendant Bush would be dispositive of the Monell claim in the

event of a defense verdict, see City of L.A. v. Heller, 475 U.S. 796, 799 (1986) (no Monell claim

without a finding that the individual defendant caused a constitutional injury), Defendants argue

that trying them together would be inefficient. And because certain evidence related to other

police shootings would be admissible with respect to the Monell claim only, Defendants argue

that the admission of such evidence in the case against Defendant Bush would be prejudicial.

       Here, while the Court acknowledges that the Monell claim is contingent on a successful

claim against Defendant Bush, judicial economy does not favor bifurcation. Defendants’

argument would lead to the conclusion that bifurcation is appropriate in every case with a Monell


Page 2 — OPINION AND ORDER
      Case 6:22-cv-00684-MTK            Document 170          Filed 01/24/25       Page 3 of 4




claim, and Defendants do not demonstrate that there is anything specific about this case that

would render trying the claims together especially inefficient. Rather, the scope of the Monell

claim which survived summary judgment is relatively narrow such that it does not appear the

Court or parties would be particularly inconvenienced by trying the claims together, even in the

event of a defense verdict on the individual liability claim. Defendants argue that the fact that

trial has already been scheduled in this case favors bifurcation because the Court will simply be

able to move “straight into” the Monell phase in the event of a jury verdict against Defendant

Bush, using the same jury, without undergoing a second stage of trial scheduling and

preparation. But this argument cuts against Defendants as well; there is very little “savings” of

judicial and party resources if the parties and Court will be briefing, deciding, and preparing for

both phases of the trial even if the trial is bifurcated. In addition, the Court and parties have

already set aside the time on their schedules to accommodate both phases of the trial, and the

jury has likewise been summoned for its full length. In other words, there is nothing to gain in

bifurcating these claims because the burden of preparing for both stages of the trial will be

sustained either way. Thus, judicial economy and convenience to the parties do not favor

bifurcation in this case.

        The Court likewise finds that the potential prejudice to Defendants is insufficient to

warrant bifurcation. Again, the scope of the Monell claim following the Court’s ruling on

Defendants’ motion for summary judgment is narrow, likewise narrowing the scope of the

evidence that may be offered in support of that claim. Second, any minimal harm or prejudice

caused by the admission of Monell evidence in the case against Defendant Bush—and the related

risk of jury confusion—can be mitigated with appropriate jury instructions. See Rodriguez v. Cty.

of Los Angeles, 891 F.3d 776, 807 (9th Cir. 2018) (jury instructions can be sufficient to cure




Page 3 — OPINION AND ORDER
      Case 6:22-cv-00684-MTK         Document 170        Filed 01/24/25      Page 4 of 4




possible prejudice even where some evidence relevant to Monell claims was irrelevant to

individual liability).

        Defendants’ Motion to Bifurcate Individual and Monell Claims for Trial (ECF No. 128)

is therefore DENIED.

        DATED this 24th day of January 2025.

                                                   s/ Mustafa T. Kasubhai
                                                   MUSTAFA T. KASUBHAI (He / Him)
                                                   United States District Judge




Page 4 — OPINION AND ORDER
